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                                                      JUDGE KATHLEEN CARDONE


                                                                           I {:
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             EL PASO DIVISION                     218OEC 12         713:31

UNITED STATES OF AMERICA,           §   CRIMINAL NO. EP-1&CR-                 1




                                    §                                       .--..
     Plaintiff,                     §   INDICTMENT
                                    §
V.
                                    §   CT   1: 18:371    Conspiracy to smuggle goods
                                    §   from the United States, in violation of 18 U.S.C.
TYLER JAMES SUMLIN (1) and          §   §554.
JASON WAYNE JARVIS (2),                 Conspiracy to engage in the business of dealing
                                        in firearms without a license, in violation of 18
     Defendants.                    §
                                        U.S.C. §922(a)(1)(A), 923(a) and 924(a)(1)(D).
                                    §
                                    §   Conspiracy to willfully transfer a firearm to an
                                    §   out-of-state resident, in violation of 18 U.S.C. §
                                    §   922(a)(5) and 924 (a)(1)(D).
                                    §
                                    §   Conspiracy to knowingly transport explosive
                                    §   materials, while not a licensee, in violation of 18
                                    §   U.S.C. § 842 (a)(3)(A) and 844(a).
                                    §
                                    §   Conspiracy to knowingly possess firearms that
                                    §
                                        were required to have been registered in the
                                        National Firearms Registration and Transfer
                                    §
                                        Record, all in violation of 26 U.S.C. § 5841, 5861
                                    §
                                        (d) and (i), and 5871
                                    §
                                    §   CT 2: 18 U.S.C. §554 Attempt to Smuggle
                                    §   Goods from the U.S.

                                    §   CT 3: 18 U.S.C.   § 922(a)(1)(A)- Engaging in
                                    §   the Business (Firearm) Without a License
                                    §
                                    §   CT 4: 18 U.S.C. § 922(a)(5)- Transferring a
                                    §   Firearm to an Out-of-State Resident
                                    §
                                    § CT 5: 18 U.S.C. § 842(a)(3)(A)- Transport
                                    § Explosive Material
                                                         by Non-Licensee
                                    §
                                    § CT 6: 26 U.S.C. § 586 1(i)- Possession of
                                    § Unregistered
                                                   Silencers
                                    §




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                                                  §   CT 7: 26 U.S.C.   §   5861(d)- Possession of Short
                                                  §   Barreled Rifle
                                                  §
                                                  §   CT 8: 26 U.S.C. § 5861(d)- Possession of a
                                                  §   Destructive Device



THE GRAND JURY CHARGES:
                                           COUNT ONE
                                  (18 U.S.C. 371  Conspiracy)

         Beginning on or before June 6, 2018, and continuing to on or about November 14, 2018, in

the Western District of Texas and elsewhere, Defendants,

                                   TYLER JAMES SUMLIN and
                                    JASON WAYNE JARVIS

     knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed

     between themselves, and with others known and unknown to commit the following offenses

     against the United States:

a.                                     of firearms prior to exportation, knowing them to be
          To facilitate the transportation
intended for exportation contrary to any law or regulation of the United States, in violation of
18 U.S.C. § 554.

b.      To willfully engage in the business of dealing in firearms without being a licensed dealer
of firearms within the meaning of Chapter 44, Title 18, United States Code, in violation of 18
U.S.C. §922(a)(1 )(A), 923(a) and 924 (a)(1)(D).

c.      To willfully transport firearms to another person while not being a licensed dealer in
firearms within the meaning of Chapter 44, Title 18, United States Code, said person not being
an importer, manufacturer, dealer, and collector of firearms, within the meaning of Chapter 44,
Title 1 8, United State Code, knowing or with reasonable cause to believe the said person was
not then a resident of the same state at the time of the transportation of the firearms, in violation
of 18 U.S.C. § 922(a)(5) and 924 (a)(1)(D).

d.    To knowingly transport explosive materials, while not a licensee under the provisions of
Chapter 40 of Title 18, United States Code, in violation of 18 U.S.C. § 842 (a)(3)(A) and 844(a).
e.     To knowingly possess firearms that were required to have been registered in the National
Firearms Registration and Transfer Record to wit: firearms in Counts Six, Seven, and Eight of
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this Indictment; which firearms were not registered in the National Firearms Registration and
Transfer Record; all in violation of 18 U.S.C. §5841, 5861 (d) and (i), and 5871.


                                   MANNER AND MEANS

TYLER JAMES SUMLIN, (herein after SUMLIN) having served in the United States Army
and JASON WAYNE JARVIS (herein after JARVIS) currently serving in the United States
Army, directly or through others had access to firearms, firearm parts, and other military
equipment.
SUMLIN and JARVIS had access to individuals who could help make and assemble National
Firearms Act firearms. National Firearms Act firearms being those which have to be registered in
the National Firearms Registration and Transfer Record.
SUMLIN and JARVIS because of their military duty had access to explosives and explosive
devices.

                                         OVERT ACTS

         In furtherance of the conspiracy alleged in Count One, and to effect the objects thereof

 at least one of the co-conspirators herein committed one or more of the following overt acts,

 among others, in the Western District of Texas, and elsewhere:

1. Jason Wayne Jarvis rented a Chevrolet Tahoe in North Carolina for the purpose of traveling to
El Paso, Texas with the firearms, explosives, and miscellaneous military type items.

2. Jason Wayne Jarvis loaded firearms, explosives and military type items into the Tahoe and
drove to Inervess, Florida to meet with Tyler James Sumlin.

3. At Tyler JamesSumlin's residence, Sumlin's firearms and Jarvis firearms and explosives were
combined, wiped clean and put in storage containers by both Jarvis and Sumlin for the trip to El
Paso.

4. Both Sumlin and Jarvis loaded the Tahoe with the combined firearms, explosives and other
military like items.

5. Both Sumlin and Jarvis traveled in the Tahoe from Inervess, Florida to El Paso, Texas.

 All in violation of Title 18, United States Code, Section 371.

                                        COUNT TWO
                                        (18 U.S.C. § 554)

          On or about November 14, 2018, in the Western District of Texas, Defendants,
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                                    TYLER JAMES SUMLIN and
                                     JASON WAYNE JARVIS

 attempted to sell and facilitated the transportation of firearms and National Firearms Act

  firearms, namely silencers, a short barreled rifle, and a destructive device, prior to exportation,

  knowing them to be intended for exportation contrary to any law or regulation of the United

  States, all in violation of Title 18, United States code, Section 554.

                                          COUNT THREE
                                      (18 U.S.C. § 922(a)(1)(A))


       On or about June 6, 2018 thru November 14, 2018, in the Western District of Texas,

Defendants,

                                   TYLER JAMES SUMLIN and
                                    JASON WAYNE JARVIS

not being licensed dealers of firearms within the meaning of Chapter 44, Title 18, United States

Code, did willfully engage in the business of dealing in firearms, in violation of Title 18, United

States Code, Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).

                                            COUNT FOUR
                                        (18 U.S.C. § 922(a)(5))

      On or about November 14, 2018, in the Western District of Texas, Defendants,

                                    TYLER JAMES SUMLIN and
                                     JASON WAYNE JARVIS

not being licensed dealers of firearms within the meaning of Chapter 44, Title 18, United States

Code, did   willfully   sell, transport firearms, and attempted to sell and transfer firearms, that is,

rifles, a short barreled rifle, silencers, and a destructive device, to another person, said person not

being an importer, manufacturer, dealer, and collector of firearms, within the meaning of Chapter

44, Title 18, United States Code, and knowing and with reasonable cause to believe that said person
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was not then residing in either North Carolina or Florida, the states in which Defendants resided

at the time of the sale and transportation, and attempted sale and transportation, of the firearms, in

violation of Title 18, United States Code, Sections 922(a)(5), and 924(a)(1)(D).

                                          COUNT FIVE
                                    (18 U.S.C. § 842(a)(3)(A))

      On or about November 14, 2018, in the Western District of Texas, Defendants,

                                 TYLER JAMES SUMLIN and
                                  JASON WAYNE JARVIS

neither being licensed under the provisions of Chapter 40 of Title 18 of the United States Code,

knowingly transported and shipped explosive materials, namely five pounds of C-4 plastic

explosive, in violation of Title 18, United States Code, Sections 842(a)(3)(A) and 844(a).

                                            COUNT SIX
                                       (26 U.S.C. § 5861(1))

      On or about November 14, 2018, in the Western District of Texas, Defendants,

                                 TYLER JAMES SUMLIN and
                                  JASON WAYNE JARVIS

knowingly possessed firearms, namely two silencers not identified by serial number as required

by Chapter 53 of Title 26, in violation of Title 26, United States Code, Sections 5861(i) and 5871.

                                         COUNT SEVEN
                                       (26 U.S.C. § 5861(d))

             On or about November 14, 2018, in the Western District of Texas, Defendants,

                                 TYLER JAMES SUMLIN and
                                  JASON WAYNE JARVIS

knowingly possessed a firearm, namely an AR- 15 type assault rifle having a barrel length of less

than 16 inches, which was not registered to either Defendant in the National Firearms Registration
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and Transfer Record, in violation of Title 26, United States Code, Sections 5841, 586 1(d) and

5871.


                                         COUNT EIGHT
                                       (26 U.S.C. § 586 1(d))

          On or about November 14, 2018, in the Western District of Texas, Defendants,

                                   TYLER JAMES SUMLIN and
                                    JASON WAYNE JARVIS

  knowingly possessed a firearm, that is a destructive device, as defined by Title 26, United States

  Code, Sections 5845(a)(8) and (f)(1)(B), namely a hand grenade, which was not registered to

  either Defendant in the National Firearms Registration and Transfer Record, in violation of Title

  26, United States Code, Sections 5841, 5861(d), 5845(a)(8)&(f)(1)(A), and 5871.




                                              A TRUE    BILJtGIL SIGNATURE
                                                         REDACTED PURSUANT TO
                                                        E'GOVERNMENTACT OF 2002
                                              FOREPERSON OF THE GRAND JURY




JOHN F. BASH
UNITED STATES ATTORNEY

BY:                 /7
        Assistant   .   Attorney
